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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                TEXARKANA DIVISION


   TRAVELPASS GROUP LLC, et al         §
                                       §
   V.                                  §     CIVIL NO. 5:18cv153
                                       §
   MARRIOTT INTERNATIONAL,             §
   INC.                                §
   ______________________________________________________________________________

                        MINUTES FOR FIFTH DAY OF TRIAL
                   HELD BEFORE JUDGE ROBERT W. SCHROEDER III
                                OCTOBER 29, 2021

   OPEN: 8:40 a.m.                                       ADJOURN: 5:05 p.m.
   ______________________________________________________________________________

   ATTORNEYS FOR PLAINTIFFS: See Attorney Sign In Sheet

   ATTORNEYS FOR DEFENDANT: See Attorney Sign In Sheet

   LAW CLERK:                        Andrew Schreiber

   COURTROOM DEPUTY:                 Betty Schroeder

   COURT REPORTER:               Shawn McRoberts
   ______________________________________________________________________________
   ______________________________________________________________________________

   8:40 a.m.   Outside the presence of the jury, the Court and parties discuss order of witnesses;
               Mr. Schwegmann announces that the plaintiffs will conditionally rest

   8:42 a.m.   Jury seated

   8:46 a.m.   Ms. Munshi and Mr. Akin read into the record exhibits previously used

   8:49 a.m.   Mr. Schwegmann announces that the plaintiffs conditionally rest

   8:49 a.m.   Ms. Lahlou calls Dr. Catherine Tucker; witness sworn in

   8:50 a.m.   Ms. Lahlou begins direct examination of Dr. Tucker

   9:32 a.m.   Mr. Patton begins cross examination of Dr. Tucker
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   9:40 a.m.    Courtroom sealed

   9:41 a.m.    Objection by Ms. Lahlou; Court - rephrase the question

   9:42 a.m.    Courtroom unsealed

   10:12 a.m.   Ms. Lahlou begins redirect examination of Dr. Tucker

   10:16 a.m.   Mr. Patton begins recross examination of Dr. Tucker

   10:19 a.m.   Court asks for questions from the jury

   10:20 a.m.   Bench conference

   10:21 a.m.   Court questions Dr. Tucker; Dr. Tucker responds

   10:25 a.m.   Mr. Patton questions Dr. Tucker; Dr. Tucker responds

   10:27 a.m.   Jury excused

   10:27 a.m.   Recess

   10:46 a.m.   Jury seated

   10:46 a.m.   Ms. Doan calls Nicolette Harper; witness sworn in

   10:47 a.m.   Ms. Doan begins direct examination of Ms. Harper

   11:23 a.m.   Objection by Mr. Patton; Ms. Doan responds - will rephrase the question

   11:29 a.m.   Objection by Mr. Patton; Ms. Doan responds; Court - rephrase the question

   11:33 a.m.   Mr. Patton begins cross examination of Ms. Harper

   11:35 a.m.   Objection by Ms. Doan; Court - overruled

   11:35 a.m.   Objection by Ms. Doan; Court - overruled

   11:52 a.m.   Objection by Ms. Doan; Court - rephrase the question

   12:04 p.m.   Ms. Doan begins redirect examination of Ms. Harper

   12:06 p.m.   Objection by Mr. Patton; Court - sustained

   12:07 p.m.   Objection by Mr. Patton; Court - sustained
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   12:11 p.m.   Court asks for questions from the jury

   12:12 p.m.   Bench conference

   12:13 p.m.   Court questions Ms. Harper; Ms. Harper responds

   12:17 p.m.   Ms. Doan questions Ms. Harper; Ms. Harper responds

   12:18 p.m.   Objection by Mr. Patton; Court - rephrase the question

   12:19 p.m.   Mr. Patton questions Ms. Harper; Ms. Harper responds

   12:21 p.m.   Jury excused

   12:22 p.m.   Recess

   1:25 p.m.    Jury seated

   1:27 p.m.    Ms. Lahlou calls Dr. Stephen Becker; witness sworn in

   1:28 p.m.    Ms. Lahlou begins direct examination of Dr. Becker

   1:55 p.m.    Objection by Mr. Cory Johnson; Court - rephrase the question

   2:56 p.m.    Jury excused

   2:57 p.m.    Recess

   3:15 p.m.    Outside the presence of the jury, Ms. Munshi objects to video deposition
                designations to be used by the defendant; Ms. Doan responds; Court responds

   3:22 p.m.    Jury seated

   3:23 p.m.    Mr. Johnson begins cross examination of Dr. Becker

   4:19 p.m.    Courtroom sealed

   4:36 p.m.    Courtroom unsealed

   4:38 p.m.    Ms. Lahlou begins redirect examination of Dr. Becker

   4:39 p.m.    Objection by Mr. Johnson; Court - rephrase the question

   4:41 p.m.    Objection by Mr. Johnson; Court - rephrase the question

   4:42 p.m.    Court asks for questions from the jury
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   4:43 p.m.   No questions

   4:43 p.m.   Bench conference

   4:44 p.m.   Ms. Doan calls James Hall via deposition (reads into the record)

   5:03 p.m.   Jury excused

   5:04 p.m.   Outside the presence of the jury, Court reminds the parties to file a revised set of
               jury instructions by noon on Sunday

   5:05 p.m.   Recess
